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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
               v.                                     )       Case No. 01 CR 1115
                                                      )
DIONNE GARCIA,                                        )
                                                      )
                               Defendant.             )

                                   MEMORANDUM ORDER

       On August 19, 2013 this Court issued a memorandum order in this case that dismissed

the 28 U.S.C. § 2255 1 motion by which defendant Dionne Garcia ("Garcia") sought to challenge

the 200-month custodial sentence that she was (and still is) serving. 2 Now Garcia has written

this Court the attached letter (Attachment 1) accompanied by the attached home-grown

document (Attachment 2) captioned "Request for Permission to File a Successive §2255

Pursuant to Johnson v. United States, 135 S. Ct. 2551 (2015) and Welch v. United States,

No. 15-6418, S. Ct. April 18, 2016." 3 For the reasons stated hereafter, this memorandum order

must (and does) deny Garcia's "Request" without prejudice.


________________________
       1
          All further references to Title 28's provisions will simply take the form "Section --,"
omitting the prefatory "28 U.S.C. §."
       2
          In accordance with this District Court's consistent practice in dealing with federal
prisoners' motions invoking Section 2255, a civil case number (in this instance 13 C 5815) was
assigned to Garcia's Section 2255 motion in this case. That method of handling allows Section
2255 proceedings to be recorded in a single separate docket, rather than having to be traced
through the typical welter of entries in a criminal case docket largely devoted to proceedings in
the underlying criminal case.
       3
          It is not at all clear that the typewritten "Request" that Garcia has tendered (a document
that looks as though it may have been the work product of a "jailhouse lawyer") applies to
                                                                                          (continued)
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        That is so because Section 2255(h) brings into play the provisions of Section 2244 that

apply to any efforts to present a second or successive Section 2255 motion. In that respect

Section 2244(b)(3) provides in relevant part:

            (A) Before a second or successive application permitted by this section is filed
        in the district court, the applicant shall move in the appropriate court of appeals
        for an order authorizing the district court to consider the application.

            (B) A motion in the court of appeals for an order authorizing the district Court
        to consider a second or successive application shall be determined by a
        three-judge panel of the court of appeals.

           (C) The court of appeals may authorize the filing of a second or successive
        application only if it determines that the application makes a prima facie showing
        that the application satisfies the requirements of this subsection.

                                            Conclusion

        Accordingly, as stated earlier, Garcia's current "Request" -- a motion for leave to file a

second or successive Section 2255 motion -- is denied without prejudice. And as further stated

in the text, this memorandum order expresses no view as to the merit or lack of merit in Garcia's

current effort.




                                                __________________________________________
                                                Milton I. Shadur
                                                Senior United States District Judge
Date: June 1, 2016




_______________________
(footnote continued)
Garcia's situation. But because, as the ensuing text of this memorandum order explains, Garcia's
effort must be brought before our Court of Appeals rather than this District Court, no view is
expressed here as to the viability or lack of viability of her "Request" on the merits.

                                                 -2-
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                            ATTACHMENT 1
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                                ATTACHMENT 2
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